                   * UNITED STATES
          Case 1:18-cr-00089-TSE    DISTRICT
                                 Document    COURT
                                          73 Filed     CRIMINAL
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Date:   11/2/2018                                                        Case #: 1:18cr89
Time:   4:24p.m. - 4:37 p.m.                                    Interpreter/Lang:


                      Honorable T.S. Ellis, III, United States District Judge , Presiding

                Richard Banke                                          T. Harris
               Courtroom Deputy                                          Court Reporter

UNITED STATES OF AMERICA

v.

Jerry Chun Shing Lee                                     Deft appeared: X in person              failed to appear
                                                                   X with Counsel         without Counsel
                                                                     through Counsel


         Edward B. MacMahon/Nina J. Ginsberg              William Hammerstrom/Adam Small
         Counsel for Defendant:                           Counsel for Government:

Matter called for:
[ ] Arraignment      [ ] Pre-Indictment Plea      [ ] Change of Plea [ ] Motions
[ ] Sentencing       [ ] Revocation Hearing       [ ] Rule 35          [ ] Appeal (USMC)
[ ] Rule 20 & Plea   [ ] Setting Trial Date       [X] Other Hearing regarding scheduling

Filed in open court:
[ ] Information [ ] Plea Agreement     [ ] Statement of Facts   [ ] Waiver of Indict. [ ] Discovery Order




Rule 35:
[ ] US Rule 35 motion for reduction of sentence          [ ] Granted     [ ] Denied



Probation/Supervised Release Revocation Hearing:
Defendant [ ] Admits Violations AND/OR [ ] Denies violations
Court: [ ] finds -or- [ ] does not find the defendant in violation of the conditions

The court will enter an order continuing the trial to 3/6/2019 @ 10:00 a.m.




Deft is: [X] Remanded [ ] Self Surrender [ ] Cont’d on same terms and conditions of release       [ ] In Custody
